Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 1 of 7 PageID #:3303




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH,                            Case No. 19-cr-00669
MICHAEL NOWAK,
                                        Hon. Edmond E. Chang
JEFFREY RUFFO, and
CHRISTOPHER JORDAN,

                   Defendants.




DEFENDANTS’ MOTION IN LIMINE FOR A CAUTIONARY INSTRUCTION THAT
        COMPLIANCE POLICIES ARE DIFFERENT FROM LAW


                                            SKADDEN, ARPS, SLATE, MEAGHER &
          KOBRE & KIM LLP                             FLOM LLP,

    111 West Jackson Boulevard                   One Manhattan West
        Chicago, IL 60604                        New York, NY 10001

     Counsel for Gregg Smith                    155 North Wacker Drive
                                                  Chicago, IL 60606

                                              Counsel for Michael Nowak

  PETRILLO KLEIN & BOXER LLP              AKIN GUMP STRAUSS HAUER & FELD LLP

        655 Third Avenue                             One Bryant Park
       New York, NY 10017                          New York, NY 10036

     Counsel for Jeffrey Ruffo                      MOLOLAMKEN LLP

                                                  300 North LaSalle Street
                                                    Chicago, IL 60654

                                               Counsel for Christopher Jordan
    Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 2 of 7 PageID #:3304




         At trial, we expect the government to offer internal JPMorgan compliance policies,

training decks, and attestations from various periods of time during the eight-and-a-half year

“Conspiracy Period” alleged in the Superseding Indictment (ECF No. 52). 1 We likewise expect

the government to present testimony from compliance witnesses who will testify, in substance,

that spoofing was against their institutions’ respective compliance policies at least as far back as

2008. In response, the Defendants anticipate presenting their own compliance evidence and

pursuing various lines of cross-examination with the compliance witnesses.

         Although compliance evidence may be relevant to the Defendants’ state of mind, the

Court should issue a cautionary instruction, along the lines of the instruction in United States v.

Flotron, that compliance materials are not a substitute for the law, and that evidence of a

violation of compliance policies does not necessarily mean that there was a violation of law. As

courts have recognized, companies often adopt compliance standards that are different, and

broader, than applicable law. The question for the jury is not whether the Defendants adhered to

JPMorgan’s internal compliance policies; rather, the question is whether they broke the law. The

proposed jury instruction from Flotron would mitigate the risk of jury confusion on this critical

point.

         The government does not oppose the principle that the Court should give a cautionary

instruction, but the parties do not agree on the language of the instruction to be given.

         A. Background

         In prior spoofing trials, the government has presented evidence of compliance policies

and training materials, in an effort to establish that the defendants knew that their behavior was




1
    With respect to Mr. Jordan only, we expect the government to offer similar compliance evidence from
    Credit Suisse and First New York Securities.


                                                  1
   Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 3 of 7 PageID #:3305




wrongful. Specifically, the government has presented testimony from compliance officers, see

Jury Trial Transcript, Vol. IV, at 1177–1224, United States v. Vorley, No. 18 CR 35, ECF No. 343

(N.D. Ill. Sept. 17, 2020) (“Vorley Tr. Vol. IV”) (direct examination of Deutsche Bank

compliance officer Michael Koplowitz); Jury Trial Transcript, Vol. III, at 698–727, United States

v. Flotron, No. 3:17CR220 (JAM), ECF No. 231 (D. Conn. Apr. 19, 2018) (“Flotron Tr. Vol. III”)

(direct examination of UBS compliance officer James Oates); language from compliance policies

and bulletins, see Vorley Tr., Vol. IV, at 1208–12, 1217–24; Flotron Tr., Vol. III, at 709–711; and

evidence of compliance training that was provided to traders, see Vorley Tr., Vol. IV, at 1181–93,

1215–16; Flotron Tr., Vol. III, at 707–712, 714–719. In its main and rebuttal summations in

Vorley, the government highlighted the compliance evidence when arguing to the jury that the

defendants acted with criminal intent. See Jury Trial Transcript, Vol. VII, at 2059:7–9, 2061:8–

14, United States v. Vorley, No. 18 CR 35, ECF No. 346 (N.D. Ill. Sept. 22, 2020) (“Vorley Tr.

Vol. VII”) (“Let me give you three reasons, ladies and gentlemen, that show you that these

defendants acted with an intent to cheat or deceive somebody else out of money or property . . .

Reason No. 3: It was against the rules . . . The rules were clear. Both Scheerer and Koplowitz

testified that this practice of spoofing was prohibited by the bank and the CME, respectively.”);

see also id. at 2061–63, 2187–88; see also Jury Trial Transcript, Vol. VI, at 1398:1–16, United

States v. Flotron, No. 3:17CR220 (JAM), ECF No. 234 (D. Conn. Apr. 24, 2018) (“Flotron Tr.

Vol. VI”) (“He’s not sending a chat to his boss about spoofing after Dodd-Frank is in effect, after

they’d gotten these compliance materials specifically saying that spoofing is unlawful . . . And

Mr. Chan told you why he felt comfortable sending that chat, using that word, which by October

2012 absolutely, even the words -- forget about the practice -- even the word, everyone knew was

bad. They’d taken compliance trainings on it by that point.”).




                                                 2
   Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 4 of 7 PageID #:3306




       In the instant case, the government has likewise produced extensive compliance materials

in discovery, including compliance policies, training materials, and attestations. In addition, the

government has produced witness statements and grand jury testimony from compliance officers

expressing the view that spoofing was against their respective institutions’ compliance policies as

long ago as 2008, well before the July 2011 effective date of the Dodd-Frank Act. See

Declaration of James J. Benjamin, Jr. in Support of Defendants’ Motion in Limine for a

Cautionary Instruction (“Benjamin Decl.”), Ex. A at 18–27; id. at 23:4–7 (“Q. In fact, whether by

the name spoofing or not, was this conduct prohibited for North American metals traders at this

point? A. Absolutely.”); id. at 26:15–27:1 (“[T]his doesn’t use the word spoofing. Is this the

prohibition on manipulative [trading] that would have applied to precious metals traders? A.

Absolutely. This prohibition applied to all trading personnel. Q. Over the years, Mr. Nakkab,

were there other policies promulgated by JPMorgan that prohibited manipulative and deceptive

trading? A. Of course.”); see also Benjamin Decl., Ex. B at 3 (“The conduct itself was never

permitted at CS, even prior to Dodd-Frank because it would have created a false or misleading

appearance of trading in the particular market.”); id. (“Both versions of the CS compliance

manuals prohibit the publication of fictitious market data. A bid or an offer which was not bona-

fide was the submission of an order which was not intended to be executed by the trader who

submitted the order. These policies would have included electronic exchanges as well. This was

conduct which was later expressively [sic] covered under the spoofing definition of Dodd-Frank.

CS would have prohibited and viewed the same type of conduct as market manipulation.”).

       B. Discussion

       Internal compliance policies instituted at JPMorgan, Credit Suisse, and First New York

Securities do not constitute federal criminal statutes. “The definition of the elements of a




                                                 3
   Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 5 of 7 PageID #:3307




criminal offense is entrusted to the legislature, particularly in the case of federal crimes, which

are solely creatures of statute.” United States v. Marzook, 383 F. Supp. 2d 1056, 1068 (N.D. Ill.

2005) (St. Eve, J.) (quoting Liparota v. United States, 471 U.S. 419, 424–25 (1985)). Internal

policy documents such as compliance manuals and trainings may endeavor to set an

organization’s aspirational compliance objectives, and outline guidance for employees in

achieving those objectives. But internal compliance departments do not promulgate federal law.

See United States v. Mix, No. 12-CR-171 (SRD), 2014 WL 2625034, at *7 (E.D. La. June 12,

2014) (court instructed jury that, to the extent employees were advised by their employer that

certain conduct “could expose an employee to criminal prosecution or punishment, I am

instructing you that such statements are not statements of the applicable law.”); see also Trial Tr.,

at 274:17-275:14, United States v. Shapiro, No. 3:15-cr-155, ECF No. 451 (D. Conn. May 9,

2017), (“It’s not a question of what was in the mind of a committee at Nomura that sat down to

put together an aspirational statement that might appeal to customers. We’re talking about the

line that separates criminal from non-criminal.”).

       In Flotron, the District Court delivered a limiting instruction that was crafted to ensure

that the jury would consider compliance evidence only insofar as it was relevant to the

defendant’s intent, and to mitigate the risk that the jury might convict the defendant based on any

apparent violation of bank policies:




                                                  4
    Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 6 of 7 PageID #:3308




        You’ve heard evidence in this case regarding UBS’s internal training and
        compliance policies. Now, these policies are not a substitute for the law. Companies
        adopt compliance policies for any number of reasons, and they impose different
        requirements on their employees than the law imposes. Therefore, even if you were
        to find that Mr. Flotron or any alleged coconspirators violated UBS’s internal
        policies, that does not necessarily mean that there was a violation of a law. You may
        consider UBS’s compliance policies solely as it may affect your consideration
        whether Mr. Flotron and any alleged coconspirators acted with willful intent to
        fraud during the course of the charged conspiracy period.

Flotron Tr., Vol. VI, at 1320:19–1321:6.2 We respectfully submit that this Court should deliver a

substantially similar instruction.




2
    In Vorley, Judge Tharp delivered a more abridged instruction:
                  You have also heard evidence about Chicago Mercantile Exchange (CME) rules
                  and Deutsche Bank policies governing market conduct. Evidence that a
                  defendant engaged in spoofing or violated CME rules or Deutsche Bank policies
                  is not, standing alone, sufficient to convict a defendant. Rather, the government
                  must prove all of the elements of wire fraud and conspiracy to commit wire fraud
                  beyond a reasonable doubt to convict a defendant on those charges.
    Vorley Tr., Vol. VII, at 2205:9–17. We respectfully submit that the Flotron instruction is preferable
    because it expressly provides that training and compliance policies “are not a substitute for the law”
    and that compliance evidence may only be considered in determining intent, whereas the Vorley
    instruction provides that the compliance policies alone are not sufficient to prove guilt, suggesting
    that a violation of the policies might nonetheless be relevant to assessing whether the at issue crimes
    were committed.


                                                     5
   Case: 1:19-cr-00669 Document #: 289 Filed: 07/09/21 Page 7 of 7 PageID #:3309




Dated July 9, 2021                          Respectfully submitted,

/s/ Jonathan D. Cogan                       /s/ David Meister
Jonathan D. Cogan                           David Meister
Sean S. Buckley                             Jocelyn E. Strauber
Leanne Bortner                              Chad E. Silverman
KOBRE & KIM LLP                             SKADDEN, ARPS, SLATE, MEAGHER & FLOM
111 West Jackson Boulevard                  LLP
Chicago, IL 60604                           One Manhattan West
(212) 488-1206                              New York, NY 10001
                                            (212) 735-2100
Counsel for Gregg Smith
                                            William E. Ridgway
/s/ Guy Petrillo                            SKADDEN, ARPS, SLATE, MEAGHER & FLOM
Guy Petrillo                                LLP
Daniel Z. Goldman                           155 North Wacker Drive
PETRILLO KLEIN & BOXER LLP                  Chicago, IL 60606
655 Third Avenue                            (312) 407-0449
New York, NY 10017
(212) 370-0331                              Counsel for Michael Nowak

Counsel for Jeffrey Ruffo                   /s/ James J. Benjamin, Jr.
                                            James J. Benjamin, Jr.
                                            Parvin D. Moyne
                                            AKIN GUMP STRAUSS HAUER & FELD LLP
                                            One Bryant Park
                                            New York, NY 10036
                                            (212) 872-1000

                                            Megan Cunniff Church
                                            MOLOLAMKEN LLP
                                            300 North LaSalle Street
                                            Chicago, IL 60654
                                            (312) 450-6716

                                            Counsel for Christopher Jordan




                                        6
